               Case 2:20-cv-01622-RSM Document 54 Filed 06/15/22 Page 1 of 2




 1                                                     The Honorable Chief Judge Ricardo S. Martinez
                                                The Honorable U.S. Magistrate Judge Brian A. Tsuchida
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 8                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 9                                          AT SEATTLE

10   IAN PERRY,                                      )
                                                     ) Case No. 2:20-cv-01622-RSM-BAT
11                   Plaintiff,                      )
                                                     ) NOTICE OF SETTLEMENT
12           vs.                                     )
                                                     )
13   STATE OF WASHINGTON, et al.                     )
                                                     )
14                   Defendants.                     )
                                                     )
15                                                   )

16
            PLEASE TAKE NOTICE that the parties in the above-referenced action have reached a
17
     settlement of all claims. The parties will be filing a dismissal as soon as the settlement is finalized.
18

19
            DATED this 15th day of June, 2022
20
                                                            CIVIL RIGHTS JUSTICE CENTER, PLLC
21
                                                            s/ Darryl Parker____________________
22                                                          DARRYL PARKER, WSBA No. 30770
                                                            2150 N 107th St, Ste 520
23                                                          Seattle, WA 98133

      NOTICE OF SETTLEMENT - 1                                                    Civil Rights Justice Center PLLC
      No. 2:20-cv-01622-RSM-BAT                                                       2150 N 107th Street, Suite 520
                                                                                        Seattle, Washington 98133
                                                                                   (206) 557-7719 | Fax: (206) 659-0183
              Case 2:20-cv-01622-RSM Document 54 Filed 06/15/22 Page 2 of 2




 1                                  CERTIFICATE OF SERVICE

 2          The undersigned hereby certifies that the foregoing NOTICE OF SETTLEMENT and this

 3   CERTIFICATE OF SERVICE was electronically filed with the Clerk of the Court using the

 4   CM/ECF system which will send notification of such to all counsel of record.

 5

 6   DATED this 15th day of June, 2022.

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 8                                                             s/ Ariana Nilchian_______________
                                                               Ariana Nilchian, Legal Assistant
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      NOTICE OF SETTLEMENT - 2                                              Civil Rights Justice Center PLLC
      No. 2:20-cv-01622-RSM-BAT                                                2150 N 107th Street, Suite 520
                                                                                 Seattle, Washington 98133
                                                                            (206) 557-7719 | Fax: (206) 659-0183
